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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                         MDL No. 2924
   PRODUCTS LIABILITY                                                                  20-MD-2924
   LITIGATION
                                                           JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART

   ________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                    PRETRIAL ORDER # 29
     Protocol for Discovery of Electronically Stored Information and Hard Copy Documents

             The Court recognizes that this MDL, No. 2924, (the “Litigation”) involves not only a

   substantial variety of plaintiffs including both entities and individuals, but also many defendants

   who are also differently situated from each other. This Protocol was negotiated amongst, and

   represents compromises by, the many Parties based upon the unique facts, circumstances and needs

   of this Litigation. Recognizing this diversity of Parties in this Litigation, the Court emphasizes

   that this Protocol remains subject to the overriding principle of proportionality. The Court also

   expressly emphasizes that in light of these unique circumstances, not only should this Protocol not

   be taken to bind any Party here to these or similar provisions in future litigation, but it cautions

   that the provisions here were negotiated by the Parties in light of the very unique circumstances of

   this Litigation and thus may not be well-suited to other litigations.

             The Court recognizes that this Protocol was negotiated amongst, and represents

   compromises by, the many Parties based upon the unique facts, circumstances, and needs of this

   Litigation, and recognizes that the various Defendants are situated differently. As such, this

   Protocol does not bind any Party here to these or similar provisions in any future litigation or

   matter.


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          It is hereby ORDERED that the discovery of electronically stored information (“ESI”) and

   hard copy documents in the Parties’ possession, custody, or control shall be conducted in

   accordance with the following Protocol for Discovery of Electronically Stored Information and

   Hard Copy Documents (“ESI Protocol” or “Protocol”).

   I.     DEFINITIONS

          As used herein, the following terms shall have the following definitions:

          1. The term “Electronically stored information” or “ESI” is coextensive with Fed. R. Civ.
             P. 34, and means information or data stored electronically, regardless of the media or
             whether it is in the original format in which it was created, as opposed to stored in hard
             copy. It shall include, but not be limited to computer-generated information or data,
             stored in or on any storage media located on hard drives, USB or thumb drives,
             databases, computers, disks, CD-ROM, magnetic tape, optical disks, or other devices
             for digital data storage or transmittal; as well as writings, records, files,
             correspondence, reports, memoranda, calendars, diaries, minutes, E-mail, telephone
             message records, hard drives, removable computer storage media such as tapes, discs
             and cards, printouts, document image files, Web pages, databases, spreadsheets, books,
             ledgers, journals, orders, invoices, bills, vouchers, checks statements, worksheets,
             summaries, compilations, computations, charts, diagrams, PowerPoints or other
             demonstrative media, graphic presentations, drawings, films, charts, digital or chemical
             process photographs, histopathology, cytopathology, biopsy, tissue specimens or
             slides, video, phonographic, tape or digital records and any transcripts thereof, drafts,
             jottings and notes, studies or drafts of studies or other similar such material, or other
             real or virtualized devices or media. Information which serves to identify or locate such
             material, such as file inventories, file folders, indices, and metadata.

          2. The term “Documents” shall be interpreted to have the meaning contemplated by
             Federal Rule of Civil Procedure 34(a)(1)(A) and shall include ESI.

          3. The term “Party” means any person, business organization, or legal entity that is a
             named plaintiff or defendant in any filed case consolidated under this MDL.

          4. The term “Requesting Party” means the Party requesting the production of Documents.

          5. The term “Producing Party” means the Party that may be producing Documents in
             response to the request of the Requesting Party.

          6. The term “Individual Plaintiff” means a plaintiff who is not a business organization or
             legal entity.




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         7. The term “Document Family” means a collection of pages or files maintained together
            constituting a logical single communication of information, but consisting of more than
            a single stand-alone record. Examples include a fax cover sheet, the faxed letter, and
            an attachment to the letter - the fax cover sheet being the “Parent,” and the letter and
            attachment being a “Child,” or an email and associated attachments, or a presentation
            with embedded files. The Parties will take reasonable steps to preserve parent-child
            relationships in ESI and hard copy Documents already in existence from the ordinary
            course of business.

         8. The term “native” means ESI in the file type for (or of) the application in which
            such ESI is originally created, viewed and/or modified.

         9. “Extracted text” or “Full Text” means the text extracted from a native Document, and
            includes all header, footer and Document body information when available. A “Text
            File” is a file containing the full text of native files extracted directly from the native
            file, or, in the case of hard copy Documents or scanned PDF Documents, subject to
            OCR, a file containing the text resulting from the OCR.

         10. The term “metadata” means: (i) structural information embedded in a file that is not
             ordinarily viewable or printable from the application that generated, edited, or modified
             such file; (ii) information generated automatically by the operation of a computer or
             other information technology system when a file is created, modified, transmitted,
             deleted or otherwise manipulated by a user of such system; and (iii) production process
             fields created in the course of producing Documents.

         11. The term “OCR” means the optical character recognition file which is created by a
             technology process that captures text-from an image for the purpose of creating a
             parallel text file that can be associated with the image and is searchable.

         12. The term “Load file” means an electronic file that relates to a set of scanned images or
             electronically processed files, and that indicates where individual pages or files belong
             together as Documents, to include attachments, and where each Document begins and
             ends, and may contain data relevant to the individual Documents such as selected
             metadata, coded data, and extracted text. A load file is used to import all image, native,
             and text files and their corresponding production information into a Document
             database. The Producing Party shall produce a load file for all produced Documents in
             accordance with specifications provided herein to ensure transfer of accurate and usable
             data.

         13. The term “unitization” means the assembly of individual scanned pages or
             electronically processed files into Documents and indicates where individual pages or
             files belong together as Documents, including attachments, and where each Document
             begins and ends.




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   II.    APPLICABILITY

          1. This ESI Protocol applies to Parties that are business organizations or legal entities, but
             does not apply to Individual Plaintiffs, except as indicated.

                i.    Section III applies to all Individual Plaintiffs.

               ii.    Certain provisions of Section VI will also apply to Individual Plaintiffs, with
                      the scope and implementation subject to additional meet and confer among the
                      Parties. Nothing herein shall be considered a waiver of any Parties’ arguments
                      at such meet and confer.

          2. Nothing in this Order is intended to limit the duty of a non-party, including claimants
             in the registry or retained clients not yet in the registry, to preserve evidence as
             otherwise required by law or by this Court’s Preservation Order (PTO # 28).

   III.   ESI PRODUCTION BY INDIVIDUAL PLAINTIFFS

          1. The scope of any search and production by Individual Plaintiffs of Documents shall be
             subject to a meet and confer process and any other production in connection with any
             Plaintiff Fact Sheet or other Court-ordered process will be the subject of a future Court
             order including in conjunction with bellwether and/or class representative
             discovery. Absent further agreement or order of the Court, Individual Plaintiffs shall
             produce Documents other than those submitted through the census forms system, or
             pursuant to another order of the Court) in native file format, PDF, or such other
             reasonably useable format that retains the relevant characteristics of the original
             Document. Any Document that requires redaction shall be produced in image format,
             e.g., TIFF or PDF. All of Individual Plaintiffs’ production Documents shall be
             uniquely named and sequentially numbered with Bates Stamps.

                 i.   For email families in Individual Plaintiffs’ productions, the parent-child
                      relationships (the association between emails and attachments) should be
                      preserved, i.e., email attachments should be consecutively produced with the
                      parent email record.

                 ii. To the extent Individual Plaintiffs produce a Document other than in native
                      format, and Defendants request metadata or other information, the Parties shall
                      reasonably confer about an alternative production format for such Document,
                      including the necessity for such alternative production format. Any such
                      request by a Defendant shall be specific and targeted.

                 iii. An Individual Plaintiffs’ social media may be produced in the Litigation in PDF
                      format. A production of social media material made in PDF format will be
                      deemed complete if it contains, to the extent reasonably accessible to individual
                      Plaintiffs through the platform: (i) social media posts, comments, replies, likes
                      and responses authored or received by the producing Plaintiff (i.e., not cropped
                      or cutoff), with visible dates of posts, responses, and replies; (ii) photos and


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                    images and associated post information (i.e., dates and reactions visible and not
                    cut off); and (iii) social media chat or messenger conversations with dates and
                    participants visible. A photograph of a computer monitor or screenshot of the
                    social media material that does not comply with sub-parts (i)-(iii) is not
                    sufficient for production.

                iv. The Individual Plaintiffs will make a good faith attempt at substantial
                    compliance with these requirements. To the extent an Individual Plaintiff’s
                    production format does not reasonably comply with Section 2, above, such
                    good faith failure will not be the sole basis of a motion to dismiss, but may be
                    considered in determining adequacy of proposed class representation or
                    bellwether selection.

   IV.   COOPERATION, COMMUNICATION, AND DISPUTE RESOLUTION

         1. The Court places great importance on cooperation and commends the Parties for their
            cooperative efforts to date. The Parties shall make a good faith effort to comply with
            the procedures set forth in this ESI Protocol consistent with the Federal Rules of Civil
            Procedure. The Court expects the Parties to continue to cooperate in good faith
            throughout the matter consistent with the Federal Rules of Civil Procedure and the
            Local Rules for the U.S. District Court for the Southern District of Florida. Consistent
            with the U.S. District Court for the Southern District of Florida’s Checklist for the Rule
            26(f) Conference Regarding Electronically Stored Information, the Parties shall engage
            in an early conference of counsel to exchange information in order to facilitate efficient
            and effective production of ESI, to the extent it is applicable to a particular Party.

         2. To the extent reasonably possible, the production of ESI and Documents shall be
            conducted to maximize efficient access to ESI Documents and minimize related
            discovery costs. The terms of this ESI Protocol shall be construed so as to ensure the
            prompt, efficient, proportional, and cost-effective exchange of information consistent
            with the Federal Rules of Civil Procedure and any orders by this Court.

         3. Nothing in this Protocol shall be deemed to constitute a waiver of any objections a
            Producing Party may have with respect to any discovery demand.

         4. Nothing in this Protocol shall be deemed to prevent a Party from seeking the Court’s
            intervention with respect to any issues that may arise regarding the application of this
            Protocol to a Document request issued to a Producing Party and/or any responses or
            objections a Producing Party may have with respect to any such request if the Parties
            are unable to resolve any such issues, responses, or objections without the Court’s
            assistance. Likewise, nothing in this Protocol shall be deemed to prevent any other
            Party from opposing relief sought from the Court.

         5. The Parties, through Lead Counsel or their designees, shall promptly meet and confer
            in good faith regarding any circumstance where application of this Protocol is not
            reasonably practicable or where this Protocol does not otherwise provide guidance or
            direction for the method of production. The Parties cannot, by consent, modify the

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            terms of this Order, but the Parties may (after meeting and conferring) agree in writing,
            in the form of a written communication with the subject designated as “Agreement to
            Waiver under PTO # 29” and a copy provided to the Special Master, to waive their
            rights under certain provisions of this Order, consistent with proportionality or as
            needed in particular cases.

         6. The Parties will ensure that their respective counsel and any third-party vendors hosting
            data produced in the Litigation shall maintain the appropriate level of data security in
            an effort to reasonably prevent a security breach of protected and/or proprietary
            information.

         7. Time Frame for ESI Issue Resolution. The Parties recognize that as production of ESI
            proceeds, there may be certain problems that arise; as one example, there may be files
            that appear to have been corrupted. When such production or post-production issues
            occur, the Producing Party shall be promptly notified in writing of the issue. The
            Producing Party will undertake reasonable efforts to acknowledge receipt of such a
            notice within 5 business days after the initial inquiry and respond substantively no later
            than 10 business days after the initial inquiry. If the responding Party believes the ESI
            issue in question is particularly complex and requires more than 10 business days to
            respond substantively, then within 5 business days the responding Party will provide a
            general explanation of the process necessary to answer the question and provide an
            estimated response date.

   V.    SCOPE OF ESI

         1. To the extent additional obligations or rights not addressed in this Order arise under the
            Federal Rules of Civil Procedure, local rules, or applicable state and federal statutes,
            they shall be controlling.

         2. A Party may object to the production of ESI that is not reasonably accessible. A Party
            raising such an objection from a source of ESI not already identified as not reasonably
            accessible in this Protocol, will expeditiously inform the requesting Party of the
            relevant ESI that is not reasonably accessible and the Parties will meet and confer.

         3. Producing Parties shall not, without good cause, have an obligation to preserve, search,
            or produce from the following sources of ESI for purposes of this Litigation:

                i. Orphaned Data: unknown or unindexed materials retained in tape, floppy disk,
                   optical disk, or similar formats, for purposes of disaster recovery;

                ii. Server, system, or network logs;

                iii. Operating system files, executable files, and system files included on the
                     National Institute of Standards and Technology (“NIST”) List
                     (http://www.nsrl.nist.gov/);



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                iv. Data stored on photocopiers, scanners, and fax machines, unless routinely
                    maintained in the ordinary course of business;

                v. “Slack,” “fragmented,” or “unallocated” data on hard drives for data that was
                   deleted prior to the duty to preserve arising, but not data which is simply in a
                   “trash,” “recycle bin” or similarly easily retrievable form;

                vi. Online access data such as temporary internet files, history, cache, cookies, etc.;

                vii. Data in metadata fields from that are frequently updated automatically in the
                     usual course of business;

                viii. Random access memory (“RAM”) and/or similar ephemeral data;

                ix. Electronic mail sent to or from a mobile phone, tablet, or Personal Digital
                    Assistant, provided that an identical copy of such mail is saved and available
                    elsewhere within the Party’s possession, custody or control; and

                x. ESI comprising structural files (e.g., .CSS, .XSL, .XML, .DTD, etc.), that do
                   not contain independently relevant information and are not necessary for the
                   processing, review, rendering or understanding of any other ESI.

   VI.   SEARCH METHODOLOGY

         1. All Parties shall make a reasonable search for reasonably accessible discoverable
            information in ESI systems, removable media, and cloud-based accounts including
            social media and hard copy paper Documents.

         2. Each Party shall perform reasonably diligent searches of the sources within their
            custody or control to collect responsive and reasonably accessible ESI, regardless of
            whether such sources are currently in use, with the exception of sources or devices of
            an entity Party not likely to have responsive information. These may include but are
            not limited to: (i) email accounts used by a Party; (ii) electronic devices used by a Party
            (e.g., desktop or laptop computers, tablets, digital cameras); (iii) any other hardware
            storage devices used by a Party (e.g., external hard drives, memory cards, USB or
            thumb drives, CDs/DVDs); (iv) any social media used by a Party (e.g., Facebook,
            Instagram, LinkedIn, Twitter, MySpace, YouTube, Pinterest, or other online
            collaboration tools such as Google+ or Yahoo! groups); (v) any website where a Party
            made online postings (e.g., on a blog, message board, etc.); (vi) any cloud storage used
            by a Party (e.g., DropBox, Microsoft Office365 Account, Google Drive, iCloud,
            Amazon Drive, etc.).

         3. Reasonably diligent searches may require running search terms agreed upon by the
            Parties; reviewing files, communications, videos, and photographs; or otherwise
            conducting an actual, physical search of the sources. Counsel for all Parties shall take
            an active role in identifying, preserving, collecting, reviewing, and producing all


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            responsive ESI and associated metadata. Parties shall produce responsive ESI in a
            manner that includes and preserves metadata. If a Party contends that the production
            of materials sought from one or more sources are outside the scope of Fed. R. Civ. P.
            26(b)(1), the Parties shall meet and confer to attempt to resolve the issue. Nothing in
            this Protocol shall prevent a Party from seeking the Court’s intervention with respect
            to any such issue if the Parties are unable to resolve it themselves or from preventing
            any other Party from opposing any relief sought.

         4. The Parties shall confer regarding the identification and collection of sources of
            relevant ESI. The Parties shall meet and confer regarding: (a) the identity and role of
            custodians possessing relevant information from whom Documents will collected and
            produced; (b) search methodology and search terms, if any, to be applied, and use of
            technology assisted review, or similar technologies, if any; (c) relevant data sources,
            including custodial, noncustodial, and third-party Documents; and (d) any applicable
            and appropriate timeframes for the collection, review, and production of Documents.

         5. The Parties will confer regarding search methodologies, search terms, date restrictions,
            and custodian restrictions. Before implementing any search based on key word search
            terms, the Producing Party will provide a list of proposed search terms to the Receiving
            Party (i.e., the Party requesting or receiving Documents) and the Parties will discuss
            those terms and any additional terms, or other requested changes, proposed by the
            Receiving Party. The Parties shall participate in an iterative and cooperative approach
            in which the Parties will meet and confer regarding reasonable and appropriate methods
            to increase the relative precision or proportion of relevant and responsive Documents
            within the search results and production sets, which may include exchanging “hit
            count” reports and having the Producing Party perform random sampling of
            nonresponsive sets. A Producing Party will not, however, be required to share the
            sampling of nonresponsive Documents with the Receiving Party. The exchange of
            information shall not waive a Producing Party’s or Receiving Party’s objection or rights
            regarding the production of such Documents. Nothing in this provision is intended to
            replace a Party’s obligations under the Federal Rules of Civil Procedure to produce
            non-privileged relevant discovery, proportional to the needs of the case, in connection
            with searches conducted outside of the agreed search methodology.

         6. To the extent a Producing Party has served production sets and responsive information
            in other litigations that may be demanded in this MDL, a Party is not obligated to re-
            run or re-validate those production sets or responsive information and is not obligated
            to re-collect the Documents that formed the basis for that production for the purpose of
            obtaining additional metadata as described in this Protocol, provided, however, that the
            Producing Party provides an explanation of the methodology and date ranges used to
            assemble the production(s). The Requesting Party may come forward with a
            particularized need for additional metadata information as to a specific Document the
            Parties will meet and confer to discuss reasonable efforts to locate and recollect such
            information.




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          7. The utilization of prior productions by a Producing Party will not exempt that Party
             from having to run additional and/or supplemental productions to account for additional
             keyword searches, custodians, expanded date ranges, etc. that were not taken into
             account in assembling and serving the prior productions and relevant information,
             about which the Parties shall meet and confer in good faith.

          8. The Parties will set a deadline for the Plaintiffs and each of the Defendant Brand
             Manufacturers individually to finalize the above search process including but not
             limited to the search methodology, the ESI sources to search, the agreed to search terms
             and testing consistent with the above and the United States District Court for the
             Southern District of Florida ESI Checklist. The Plaintiffs will meet and confer with
             the Generic and Retailer Defendants about the same at a mutually agreed to time.

          9. At the next Case Management Conference, each Brand Manufacturer shall provide a
             report to the Court on the status of its ESI search and production. Liaison counsel for
             the Generic and Retailer Defendants shall also provide a report on the status of ESI
             search and production by those Parties.

   VII.   FORMAT OF PRODUCTION

          The Parties will produce ESI and hardcopy Documents in accordance with the following
   protocol:

          1. Non-Database ESI.

                 i. With the exceptions of ESI contained within databases and other structured data
                    addressed in Sections V.A.6-8 and 9, V.D. and ESI to be produced in “native”
                    format addressed in Section V.B. below, all ESI shall be produced in TIFF
                    format. All TIFF formatted Documents will be single page, black and white,
                    Group 4 TIFF at 300 X 300 dpi resolution and 8½ X 11-inch page size, except
                    for Documents requiring different resolution or page size. Original Document
                    orientation should be maintained to the extent reasonably practicable and
                    technologically possible for a Producing Party or its vendor (i.e., portrait to
                    portrait and landscape to landscape). Hidden text, tracked changes, comments,
                    notes, and other similar information viewable within the native file shall also
                    be imaged so that this information is captured on the produced image file as
                    reasonably processed using common litigation support tools. Except as noted
                    below in Sections V.A.7-8,10 and otherwise referenced, the Parties agree that,
                    where ESI needs to be redacted, it shall be produced in the TIFF format
                    described above with each redaction clearly indicated.

                 ii. A unitization file, in standard format (e.g., Opticon, Summation DII) showing
                     the Bates number of each page, the appropriate unitization of the Documents
                     and the entire family range, will accompany each TIFF Document.




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                iii. A Unicode formatted delimited text file that contains agreed upon metadata
                     fields (see paragraph V.A.11), if those fields exist, and associated extracted text
                     (or any OCR for paper-based, redacted Documents, or Documents with no
                     extracted text) (see paragraph V.A.4) should also be produced and use the
                     following delimiters:

                               Field Separator, ASCII character 020: “”
                               Quote Character, ASCII character 254 “þ”
                               Multi-Entry Delimiter, ASCII character 059: “;”

                    If the Producing Party requests alternate delimiters, the Parties shall agree on
                    alternate delimiters.

                iv. Document level extracted, searchable full text and metadata will be produced
                    for non-redacted ESI. Each extracted full text file will be in Unicode formatted
                    text file and named according to the first Bates number of the corresponding
                    electronic file.

                v. Each TIFF or .TIF version of an unredacted electronic Document will be created
                   directly from the corresponding native file.

         2. Unredacted Spreadsheets.

                i. All unredacted spreadsheets (e.g., MS Excel, Numbers, comma delimited data,
                   tabular numerical data, etc.) shall be produced in their native format and where
                   attached to emails the attach spreadsheets or other files produced in native
                   format should not be separated from each other and should be linked using the
                   Attachment Range fields.

                ii. The file name should match the Bates number assigned to the file.

                iii. The extractable metadata and text should be produced in the same manner as
                     other Documents that originated in electronic form.

                iv. A slipsheet with the words “File Produced Natively” with Bates number and
                    Confidentiality designation shall be placed to mark where the original Native
                    file was found in the production set.

         3. Redacted Spreadsheets. For redacted spreadsheet files (e.g., MS Excel, Numbers,
            comma delimited data, tabular numerical data, etc.), the Parties shall produce redacted
            spreadsheet files as native rather than image files, and to the extent it is reasonably
            practicable, will use a native redaction tool. The Producing Party will identify the
            natively redacted spreadsheet as redacted in the associated “Redacted” metadata
            field. If a Producing Party cannot produce redacted Excels using a native redaction tool,
            the Parties will meet and confer to agree on a mutually agreeable format of production.



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         4. Multimedia/Audio/Visual Files. Audio and video files such as voice and video
            recordings (e.g., .wav, .mpeg, and .avi) shall be produced in native format. The Parties
            shall meet and confer to discuss the appropriate manner for the production of
            audio/visual files that require redaction.

         5. Use of Native Files. The Parties agree to meet and confer on a future protocol governing
            the use and format of Documents produced natively at trial, depositions, or hearings.

         6. Presentations and Word Processing Documents shall be produced in single-page color
            JPEG format (300 DPI). All tracked changes in the metadata must be visible for these
            Documents. All other requirements for productions stated in this ESI Protocol Order
            regarding productions in TIFF format apply to any productions of Documents and/or
            ESI in JPEG format pursuant to this paragraph. If any animation, video, or audio was
            included in the original presentation or word processing Documents, that fact shall be
            identified to the Requesting Party as part of the metadata provided with the redacted
            presentation. As an alternative to the foregoing a Producing Party may produce word
            processing and presentation Documents in native format.

         7. Metadata.

                i. The metadata fields specified in Appendix A associated with each electronic
                   Document will be produced, to the extent they exist as electronic metadata
                   associated with the original electronic Documents. No Party will have the
                   obligation to manually generate information to populate these fields if such
                   fields cannot be reasonably extracted or generated from the Document or
                   Document collection using an automated process with the exception of the
                   following fields: (a) BegBates, (b) EndBates, (c) BegAttach, (d) EndAttach, (e)
                   Custodian, (f) Confidentiality, (g) Page Count, (h) Redacted (Y/N), which
                   should be populated regardless of whether the fields can be populated pursuant
                   to an automated process.

                ii. The Producing Party may redact, or remove from production, protected and/or
                    privileged metadata, so long as all revisions or redactions are individually noted
                    on the privilege log, and noted as “redacted” in the metadata fields so removed,
                    a process which shall be more fully described in the Confidentiality Order.

         8. Embedded Files.

                i. If a Document has another responsive file embedded in it, (e.g., PowerPoint
                   with a spreadsheet in it), the Producing Party shall extract and produce the
                   embedded Documents as a separate Document and treat such Documents as an
                   attachment to the original Document unless such original Document is
                   produced in native format with the embedded information contained within
                   it. The embedded files will be marked with a “YES” in the load file under the
                   “Is Embedded” metadata field.



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                ii. The Producing Party need not produce embedded files as separate files that do
                    not have user created content, including but not limited to irrelevant inline
                    image files (e.g., logos, icons, emoticons, and footers).

                iii. The Producing Party need not produce embedded Excel files as separate files
                     that have only duplicative data and not hitting search terms of what is available
                     in the parent Document from which they were extracted. The Requesting Party
                     can meet and confer with the Producing Party to request the underlying Excel
                     files.

         9. Native Files.

              i.      With the exception of ESI requested in native format as detailed in section
                      V.A.6-10 and otherwise referenced, the Requesting Party may not request or
                      seek to compel the production of ESI in native format on a wholesale basis,
                      although the Producing Party retains the option to produce ESI in native file
                      format after meet and confer with the Requesting Party.

                ii. Subsequent to the production of the imaged Documents, however, and
                    according to the following protocol, a Requesting Party may request from a
                    Producing Party that certain imaged files or of files be produced in native
                    format, because the files are not reasonably usable in an imaged form. Such a
                    request shall not be unreasonably denied by a Producing Party.

                iii. The Requesting Party shall provide the reason for its request that the Documents
                     be produced in their native format, and provide the specific Bates range, or list
                     of Bates numbers of the imaged Documents sought to be produced in native file
                     format.

                iv. The Producing Party shall have 10 business days to produce the requested
                    native files, or it may object to the demand as unreasonable as follows:

                          a. Within 10 business days of receiving a request to produce native files,
                             the Producing Party will respond in writing, setting forth its objection(s)
                             to the production of the files.

                          b. The Parties will meet and confer regarding the request and
                             corresponding objection(s), and if the Parties are unable to agree as to
                             the production of such files in native format within 10 days of
                             submission of the Responding Party’s objection(s), the Parties will
                             submit the matter to the Court, pursuant to an Order to be entered
                             concerning the Discovery Process and Discovery Dispute Resolution.

                   v. Any produced native files, will be assigned a unique file name and hash value
                      and will include a cross reference to the Bates number it was originally
                      produced with.


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         10. Production of Documents Collected as Paper. Documents in paper format, the same
             specifications should be used as the production of ESI in paragraph V.A.1-4 and 9 as
             applicable, with the following clarifications:

                i. A delimited text file that contains reasonably available fielded data should also
                   be included and at a minimum include Beginning Bates Number, Ending Bates
                   Number, Custodian/Source, Confidentiality, Redacted, and Number of Pages.

                ii. To the extent that Documents have been run through an Optical Character
                    Recognition (OCR) Software in the course of reviewing the Documents for
                    production, full text should also be delivered for each Document. Text should
                    be delivered on a Document level in an appropriately Unicode formatted text
                    file (.txt) that is named to match the first Bates number of the Document.

                iii. A text cross reference load file should also be included with the production that
                     lists the beginning Bates number of the Document and the relative path to the
                     text file for that Document on the production media.

                iv. A Producing Party will make best efforts to unitize Documents collected as
                    paper prior to scanning but are not obligated to alter a pre-existing
                    organizational structure. Where the Documents were organized into groups,
                    such as boxes, folders, clipped bundles, and binders, this structure shall be
                    maintained and provided in the load file. The relationship among the
                    Documents in a folder or other grouping should be reflected in proper coding
                    of the beginning and ending Document and attachment fields to the extent
                    reasonably practicable. Where a Document, or a Document group - such as a
                    box, folder, clipped bundle, or binder - has an identification spine or other label,
                    the information on the label shall be scanned and produced as the first page of
                    the Document or grouping.

         11. Production of Databases and Other Structured Data.

                i. Generally, relevant ESI stored in enterprise databases should be produced in a
                   mutually agreeable data exchange format.

                ii. The Parties will meet and confer regarding the production of information from
                    structured data (e.g., Microsoft Access or proprietary databases). After the meet
                    and confer, and subject to agreement with the Requesting Party on content,
                    format and scope, information may be produced in an export from such database,
                    provided the export is in a reasonably usable electronic format, such as an Excel
                    spreadsheet in native format, unless not practicable, in which case the Producing
                    Party shall notify the Receiving Party and the Parties shall promptly meet and
                    confer to attempt to resolve the issue.




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                iii. The Parties will meet and confer to address the production and production
                     format of any responsive data contained in a database or other structured data
                     source.

         12. Compressed Files. Compression file types (e.g., .CAB, .GZ, .TAR, .z, and .ZIP) shall
             be decompressed in an iterative manner to ensure that a zip within a zip is
             decompressed into the lowest possible compression resulting in individual folders
             and/or files.

         13. Parent-Child Relationships. Parent-child relationships (the association between an
             attachment and its parent Document in a Document family) that have been maintained
             in the ordinary course of business shall be preserved for both ESI and hard copy
             Documents. For example, for electronic production of a hard copy folder with
             Documents contained in the folder, the cover/title of the folder shall be produced first,
             with all contents of the folder in sequential Document order behind the containing
             folder. For email families, the parent-child relationships (the association between
             emails and attachments) should be preserved, i.e., email attachments should be
             consecutively produced with the parent email record.

         14. Attachments. The Parties agree that if any part of a Document family (e.g., an email
             or its attachments) is responsive, the entire email, including attachments will be
             produced, except any attachments that must be withheld on the basis of privilege or
             attachments that are irrelevant. The attachments will be produced sequentially after the
             parent. Any withheld attachments shall be slip-sheeted in the place where the
             attachment would normally be and designated as withheld, including the reason for the
             withholding, in the metadata. The Producing Party will produce the metadata on the
             slipsheet with the bates number, the basis for withholding, and confidentiality
             designation. The Parties agree to meet and confer to the extent necessary regarding the
             appropriateness of withholding specific attachments that the Producing Party has
             deemed irrelevant or wholly pertain to a product not at issue in this case that the
             Requesting Party deems relevant and responsive to discovery.

         15. Documents Containing Color. If an original Document contains color, the Producing
             Party shall not deny reasonable requests for color copies of the original. Reasonable
             requests for color versions of Documents originally produced in black-and-white shall
             not be denied. Upon receipt of a request for a color copy of a Document originally
             produced in black-and-white, the Producing Party shall (a) provide a color image by
             e-mail to the requesting Party; and (b) provide a replacement image and load file
             bearing the same Bates number for that previously produced Document with its next
             production.

         16. Hidden Text. ESI items shall be processed in a manner that preserves hidden columns
             or rows, hidden text, worksheets, speaker notes, tracked changes, and comments. Any
             exceptions to this shall be subject to notice and a meet and confer.




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         17. Processing Exceptions, Password-Protected, Encrypted, or Proprietary-Software
             Files. With respect to any ESI items that are password-protected or encrypted, the
             Producing Party will produce such files in an unprotected/unencrypted form. If a
             password or encryption key is not available, the Producing Party shall take reasonable
             steps to access the Documents so that the Documents can be reviewed and produced if
             appropriate. In the event that exception, encrypted or password-protected Documents
             cannot be accessed because of processing exceptions, encryption or additional software
             requirements, despite good faith efforts to do so, the Parties shall promptly meet and
             confer regarding the next steps with respect to such ESI.

         18. Production Media. Documents shall be produced on CD-ROM, DVD, or external hard
             drive (with standard PC-compatible interface), or via secure FTP site, or via such other
             readily accessible computer or electronic media as the Parties may hereafter agree upon
             (the “Production Media”). Each item of Production Media shall include: (1) the name
             of the litigation and the case number; (2) the identity of the Producing Party; (3) the
             production date; (4) the Bates Number range of the materials contained on such
             Production Media item; and (5) the Production Volume Number of the Production
             Media. Any replacement Production Media will cross-reference the original
             Production Media, clearly identify that it is a replacement and cross-reference the Bates
             Number range that is being replaced. However, produced, a Producing Party shall
             provide clear instructions for accessing the production, including providing any
             necessary passwords or encryption keys contemporaneously with the production.

         19. Bates Numbering. All ESI that is permitted to be, and is, produced in non-native format
             shall contain a legible, unique Bates number and confidentiality notice, where
             applicable, which will be electronically burned onto the page image in a manner that
             does not obliterate, conceal, obscure, or interfere with any information from the source
             Document. No other stamp or information will be placed on a Document other than
             Bates number, confidentiality notice, and any redactions as may be required, except
             where, by agreement, Documents previously produced are produced in this matter,
             those Documents may include additional markings. To the extent possible, the Bates
             number must be oriented in the same manner as the majority of the text on the page and
             will be sequential within a given Document. Bates numbering must always: (1) be
             unique across the entire Document production; (2) maintain a constant prefix,
             production number and length (ten-digits and 0-padded) across the entire production;
             (3) contain no special characters or embedded spaces, except hyphens or underscores;
             (4) be sequential within a given Document; and (5) identify the Producing Party. If a
             member of a Document family that has otherwise been determined to be responsive
             cannot be technically processed (e.g., unsupported file format, file corruption,
             inaccessible password-protected Document), those technical problems shall be
             identified and disclosed to the requesting Party by production of a Bates-labeled slip
             sheet that states “Technical issue—file cannot be processed” or otherwise indicates on
             its face that a processing error has occurred; the associated metadata for the file with
             the technical problem shall be produced if reasonably possible. A Requesting Party
             thereafter may raise with the Producing Party any questions or concerns, and the Parties
             shall meet and confer to attempt to resolve any issues.


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         20. Confidentiality Designations. If a particular paper Document or ESI item is designated
             for confidential treatment pursuant to the terms of the stipulated Confidentiality Order
             entered by the Court in the Litigation (PTO # 26), the designation shall be included in
             the appropriate metadata field in the load file.

         21. Other. The Parties share a desire to ensure that ESI is produced in an acceptable,
             searchable format. The Parties recognize that certain, limited ESI may not be amenable
             to the proposed technical specifications. The Parties will meet and confer in good faith
             to reach agreement regarding these issues and the appropriate form of production and
             will seek Court intervention if necessary. All ESI shall be processed so as to show the
             date in Universal Coordinated Time.

    VIII. DE-DUPLICATION & E-MAIL THREADING

         1. De-Duplication.

                i. Parties may globally de-duplicate identical ESI vertically within each custodian
                   and horizontally across custodians on a family basis using either MD5 or SHA1
                   hash values and the hash function shall remain consistent across all
                   productions. If used, the Parties shall de-duplicate stand-alone Documents only
                   against stand-alone Documents and shall de-duplicate Document families only
                   against other Document families. De-duplication shall not break apart
                   families. ESI that is not an exact duplicate may not be removed.

                ii. The Parties agree that an e-mail that includes content in the “bcc” or other blind
                    copy field shall not be treated as a duplicate of an otherwise identical e-mail
                    that does not include content in the “bcc” or other blind copy field.

                iii. To the extent that deduplication is used, the Parties expressly agree that a
                     Document produced from one custodian’s file but not produced from another
                     custodian’s file as a result of deduplication will nonetheless be deemed as if
                     produced from that other custodian’s file. To the extent the Producing Party
                     can reasonably produce from the production database, all custodians of the
                     Duplicate ESI shall be listed in the “AllCustodians” field. In the event of rolling
                     productions of Documents or ESI items, the Producing Party will, as needed,
                     supplement the load files with updated AllCustodians information. Duplicate
                     custodian information may be provided by a metadata “overlay” and shall, if
                     not available to be produced upon production of the first instance of the
                     Document, be produced on a rolling basis as a particular custodian’s files are
                     produced but no later than the custodian’s production file has been deemed as
                     complete.




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          2. E-mail Threads and Attachments.

                 i. The Parties agree that a Producing Party may review only the most inclusive
                    email thread, and that confidentiality designations may be propagated to lesser
                    included threads, and that a higher confidentiality designation applied to a lesser
                    included thread cannot form the sole basis of a challenge to confidentiality. The
                    Parties agree to meet and confer in good faith before any such challenges are
                    raised in connection with the production of lesser included threads.

                 ii. A Producing Party shall produce all e-mails separately and not as part of an
                     inclusive e-mail thread except for any e-mails requiring redaction, even though
                     such redacted e-mails were transmitted by themselves or as part of a non-
                     inclusive shorter e-mail thread, provided that:

                        a. All previous emails (content and header information) in the thread are
                           contained within the produced final message.

                        b. Where a prior email contains an attachment, that email and attachment
                           shall not be removed as a lesser inclusive email.

                        c. The Producing Party will make reasonable efforts to correct any errors
                           that occur as part of its efforts to produce redacted e-mail chains, as
                           described above, including but not limited to incomplete production of
                           attachments.

                        d. If any issues arise from the Producing Party’s production of redacted e-
                           mail chains, even if not strictly production “errors,” the Producing Party
                           and the Requesting Party will meet and confer in good faith to resolve
                           or address such issues.

                        e. The above most “inclusive” e-mail production for redacted e-mails is
                           not intended to allow the Producing Party to withhold e-mail thread
                           messages’ lesser inclusive emails that are otherwise not privileged and
                           do not require privilege redactions. To the extent this arises, the Parties
                           will meet and confer regarding an approach to address and resolve this
                           issue.

    IX.   MISCELLANEOUS

          1. The Producing Party does not have an obligation to create an English translation of a
             Document for purposes of discovery. English translations, created in the ordinary
             course of business, of responsive, non-privileged Documents will be produced, subject
             to the other Orders of this Court. The Producing Party does not have an obligation to
             associate an identified English translation to a foreign language original, when the
             Documents are not located together or otherwise associated with one another in the
             ordinary course.


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            2. A Party producing responsive ESI need not produce the identical Document in paper
               format when its reasonable investigation indicates that the paper Document is identical
               to the already-produced ESI however if the Producing Party does so, the Parties must
               meet and confer about it.

            3. In the event the parties are unable to reach agreement as to any issue raised by this
               Order, the parties shall notify and confer with the Special Master. The Special Master
               is directed to facilitate discussions relating to the obligations in this Order.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 11th day of June,

    2020.


                                                        _______________________________
                                                        ROBIN L. ROSENBERG
                                                        UNITED STATES DISTRICT JUDGE




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                                    APPENDIX A

               FIELD            FORMAT                        DESCRIPTION
     BEGDOC                   Fixed-Length        Beginning Bates number
                              Text
     ENDDOC                   Fixed-Length        Ending Bates number
                              Text
     BEGATTACH                Fixed-Length        Beginning of family range, first number of
                              Text                first family member
     ENDATTACH                Fixed-Length        End of family range, last number of last
                              Text                family member
     AttachCount                                  The number of attachments to a document.

     Attachment Withheld      (Yes          if Specifies if an attachment was withheld
                              withheld, Blank  for any reason and slipsheets the withheld
                              if not)          attachment
     CUSTODIAN                Multiple Choice  Custodian name
     ALL CUSTODIANS           Multiple Choice  If global deduplication is used, this field
                                               will be populated with the original
                                               custodian and custodians who also had a
                                               copy of this document or document
                                               family, but which is not being produced
                                               because of deduplication.
     Author                   Name             Author of document auto populated from
                                               document properties. No party shall have
                                               an obligation to manually populate this
                                               field.
     Last Saved By                             Value shows within the “last saved”
                                               metadata field.
     DATE_CREATION            Date (date:time) Creation Date and Time File System

     DATESENT                 Date (date:time) Sent Date and Time for email
     Date Received            Date (date:time) Received Date and Time for email
     DATELASTMOD              Date (date:time) Last Modified File System

     FILEEXT                  Fixed-Length        File Extension
                              Text
     FILENAME                 Fixed-Length        File Name (longfile name)
                              Text
     HIDDENTEXT               (YES if flag        Flag whether document has hidden text, as
                              present, blank if   is reasonably available from document
                              not)                properties
     HASTRACKCHANGES          (YES if flag        Flag whether document has track changes,
                              present, blank if   as is reasonably available from document
                              not)                properties.


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     Title                                        Any value populated in the Title field of
                                                  the document properties
     File Path                                    The full path to the file at its original
                                                  location (for emails, the full folder path to
                                                  where the e-mail was stored).
     File Size                Number field        File size, in megabytes
     HASHVALUE                Fixed-Length        Algorithmic based Hash Value generated
                              Text                by accepted method such as MD5 or
                                                  SHA1 (or CONTROL_ID for scanned
                                                  paper)
     FileType                                     The file type of a document.

     BCC                      Long Text           BCC Recipient Combined
     CC                       Long Text           CC Recipient Combined
     FROM                     Fixed-Length        Sender Combined
                              Text
     SUBJECT                  Fixed-Length        Subject
                              Text
     TO                       Long Text           Recipient Combined
     DELIVRECEIPT             (YES if flag        Message-delivered flag from Outlook
                              present, blank if   email
                              not)
     Email Importance         (YES if flag        Message importance flag from email, if
                              present, blank if   reasonably available.
                              not)
     Item_Flag                                 To-Do/Follow-up Flag for e-mail or item
                                               (e.g. in Outlook), if reasonably available.
     Meeting Start Date       Date (date:time) The start date and time of the calendar
                                               entry, if reasonably available from
                                               electronic calendar properties.
     Meeting End Date         Date (date:time) The end date and time of the calendar
                                               entry, if reasonably available from
                                               electronic calendar properties.
     PAGECOUNT                Whole Number Page count
     CONFIDENTIALITY          Fixed-Length     Confidentiality
                              Text
     Is Embedded              (YES if true, The yes/no indicator of whether a file is
                              blank if not)    embedded in another document.
     Paper Document           (YES if true, “YES” if document was scanned from
                              blank if not)    hard copy in connection with the
                                               collection and production of documents in
                                               this matter
     Redacted                 (YES if true, Indicates whether the file has been
                              blank if not)    redacted
     Redacted Reason                           Indicates the reason for the redaction.


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     OriginalContainedMultiMedia (YES if true, Indicates for a non-natively produced
                                 blank if not)     document whether the original contained
                                                   animation, audio, or video, if reasonably
                                                   available from the document properties.
     Conversation Index          Fixed-Length      The conversation index value for email
                                 Text              (e.g. MS Exchange message id)
     REVISION                                      Application-stored revision number value
     READRECEIPT                 (YES if flag Message-read flag from Outlook email, if
                                 present, blank if reasonably available.
                                 not)
     Unprocessable               Yes/No            The yes/no indicator of whether a file was
                                                   able to be processed.
     HASCOMMENTS                 (YES if flag Flag whether document has comments.
                                 present, blank if
                                 not)
     TimeZone                                      Time zone used to process data during
                                                   document collection and processing
     NativeFilePath                                The path to the corresponding native file
                                                   included with a production volume.
     TextPath                                      The relative path to the corresponding
                                                   OCR or extracted text file included with a
                                                   production volume.




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